CASE 0:23-cv-02789-JWB-JFD Doc.100 Filed 10/16/24 Pageiof18

UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

Dajovan Pettit.,
Case No. 0:23-cv-02789-JWB-
JFD
Plaintiff,
V.

Allina Health System, a non-profit
domestic corporation d/b/a
Abbott-Northwestern Hospital

Defendant.

AFFIDAVIT OF RICH HECHTER

I, Richard W. Hechter, after being first duly sworn, state and depose as follows:

1. That Iam an Attorney who is licensed in State and Federal Court of Minnesota and
in the 8th Circuit Court Of Appeals.

2. That I have been representing Plaintiff in this instant action

3. That after Plaintiffs deposition in August, a conflict developed between
myself, my law firm and Plaintiff.

4. That I believe I should only disclose the actual conflict in camera with the Court
as I would never want to prejudice my client in anyway possible.

5. That the attached emals are true and accurate copies of what they purport to be.
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6. The purpose of the emails is to confirm the constant contact I had with Plaintiff
and the initial date told Plaintiff I had to withdraw. That date was September 24,
2024, with several follow-up emails and calls informing Plaintiff she needs to find
a new attorney to take over the case. She (Plaintiff) has also been served with the
motion papers and notice of Withdrawal.

7. I swear and affirm that everything is true and accurate to the best of my knowledge
and subject to the laws of Perjury.

s/s Rich Hechter

Respectfully submitted,

Dated: October 15, 2024 /s/ Rich Hechter
Richard W. Hechter, (# 193537)
7380 France Avenue South, Suite 250
Edina, MN 55435
Telephone: (952) 832-2000
Email: rhechter@morrislawmn.com

MORRIS LAW GROUP, P.A.

7380 France Avenue South, Suite 250
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Telephone: (952) 832-2000

Attorneys for Plaintiff DaJovan Pettit
CASE 0:23-cv-02789-JWB-JFD Doc.100 Filed 10/16/24 Page 3of18

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on Oct. 6, 2024, a true and correct copy of
the foregoing was served via transmission of Notice of Electronic Filing generated by

CM/ECF on all counsel of record on the below Service List.

SERVICE LIST

Copies furnished to:

Lehoan T. Pham,

Bar No. 0397635

LITTLER MENDELSON, P.C.
1300 IDS Center

80 South 8th Street
Minneapolis, MN 55402
Telephone: 612.630.1000
hpham@littler.com

Attorney for Deffendant

Dajovan B. Pettit

2219 Dupont Avenue North
Minneapolis, MN 55411
Telephone: 612-481-5788
dajovan@gmail.com
Plaintiff
CASE 0:23-cv-02789-JWB-JFD Doc.100 Filed 10/16/24 Page4of18

Richard W. Hechter

From: Richard W. Hechter

Sent: Thursday, August 22, 2024 5:37 PM

To: Edify My temple; Griffin Bryant; Richard Morris
Ce: Richard W. Hechter

Subject: YOUR DEPOSITON

Dear DaJovan:

Thank you so much for attending your extremely long deposition (7 hours). ae
30 pages of notes and here are the main items | noted:

You have great credentials. You graduated from St. Kates. Excellent school. You came across as extremely honest and
sincere. You were very clear in your communications, ie: looked right into the video camera and gave lin

You did a great job giving your employment history and your time in the cardiac until The telemetry monitoring stations,
titrating drips, etc. You did a fantastic job naming specific people such ee <alo' if |
spelled those wrong). You did a good job explaining your goal of becoming a nurse mid-wife. After some questioning by
me at the end, we established being a midwife would be considered a big “promotion” or career advancement. At the

end, with my questioning, You did a nice job explaining why holding you on 44-4500 and not going to Labor and Delivery
prevented you from getting clinical hours to be applied toward a graduate degree in Midwifing.

You did a great job explaining the atmospheres (culture) in different units and how on specialty units, nurses of color
were rare and frowned upon. You were specific stating (last name not known) did not like you and did not want
nurses of color there. You explained how they would wash nurses out (get them to quit or be removed from the clinical

learning) by making sure they needed “remediation”. You did an excellent job explaining how management and charge
nurses and those in the culture set you and black nurses up to fail.

You were specific on ae You testified she would not look at you, gave you unsafe assignments, some risking
your nursing license, you and black nurses were generally assigned the most difficult patients and often had to do

jobs more akin to a CNA. You did a fantastic job explaining how, as a nurse, you need other nurses to back you up and
have your back. You explained how black nurses did not have this. | found it powerful when you testified that black

nurses would often take less than desirable assignments ( i.e. Sister Kenny) just to be with black nurses. Safety and
comfort in numbers. | thought that was very insightful and hard hitting.

gain, naming specific people 2 ET.
). You told Allina that you were asked if your kids were from the
; ments like “ghetto”. You talked bos: her reports to —
pe which went nowhere. You testified that there were “equity in gations’ which also went no where. You
1

a great job explaining how they / Allina sent discrimination complaints to some department where they die.

You explained how black nurses were followed. You 2 etal S 5 ea How white nurses would
not chart when relieving a black nurse on a break. You talked abo white nurses got Cohesive training” ., You
explained there was no continuity with training for black nurses. You testified that you hear ings like “you
f@@in blacks and how their food stank. You hear hings like black aids are lazy. You d how white

nurses would stand beside you (sandwich you) and yell over your head - literally). You explained that black nurses were
isolated and not really accepting into lunch and break groups with white nurses. You did an A+ job mentioning

aa “systemic racism”. You mentioned ie: ' don’t have much on notes here. Remember, we will get the full

1

| have in my notes you mention

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=—_

300 page transcript soon. You told Allina that some employees would use the word Nigga. There was a good chunk of
time spent (by the defense attorney) discussing Nigga versus Nigger and what you really Iheard and why the Complaint (
drafted by me) said Nigger. | did not really understand or “hear’ literally, the difference between nigga and nigger
before your deposition. | am sorry to use that language. | know it is Hot godly.

You talked about how white nurses and those who supervise “hide” (spy) and try to catch black nurses off task, etc. You
testified that PF foliowed Aides and made It very hard for taking breaks. Only with black nurses/nursing aids.

You talked cbout Sr rovec relations consultant, who knew there were complaints of systemic racism. |
loved how you explained that not reprimanding discriminatory behavior EMBOLDENED those to do more. | get that
completely.

You talked about huddles and some white person mocking you stating you should eat watermelon friend chicken and oe
later you added corn bread. You found this very offensive. You saw those who came forward to try and report racism

got punished and retaliated by their supervisors. You needed to keep your job. You identifie
and sas charge nurses and those in supervisory capacity on the short stay unit. You testi
the actual manager of your unit. That you and others had a “bad” relationship with him. You explained that one

time, outside of Abbott, he Lurched at you and you were physically afraid. That ould only talk to white nurses and
ignored black nurses. He did not want black nurses on his unit. You also mentio for those who
also had experienced discrimination difficulty with Joe Rausch. You testified that Joe o seethed” at you

You did a good job testified that nurses of color were looked up with suspicion. That in investigations, the management,
HR, never believed black nurses and black nurses, including you, were often criticized or written up for subjective
offensive behavior. You talked abou and eae the collusion between all. You, of course, did a
fantastic job about the lies cast upon a hiS promise and refused to let you transfer off the unit to Labor
and Delivery — which had 4 openings at the time. t was agreed by ae: that you could leave
and you had your orientation scheduled. That this got pulled from you after the “4 butters’ incident.

From an outsiders (mine) view, it is ridiculous that the 4 butters report was ever created and you had to go to HR for

it. | have never head such pettiness. You explained the hostile work environment and specifically n i
and a few others. That Allina never meant to keep their promise to let you, a black nurse, transfer. You

the lies people would conjure up against black nurses and there was never any j izations. ie

me limited testimony about ' ees (I know the spelling is
not correct}. You mentioned you were at times questioned about yo@ Lotks/hair/ natural hair. You explained how
Allina and supervisor uld create positions for white nurses. You explained that very qualified nurses were
jumped over for positions. You mentione s knowing problems with } ou also discussed how Allina
would not accommodate your regnoney ne Patient care issues. Unsafe assignments. They would not
give you a sitting job (i.e. charting, paperwork in the “basement” but they would allow white nurses to avoid direct care
when they had restrictions.

You spoke about Ray and nurses of color. You mention ga and MNA. How MNA knew there
was systemic racism but had no power to do anything about it. You explained how at one discipline
meeting/investigatory interview, an Allina employee lied to you and said you are not entitled to MNA

representation. Was th ? | noticed you said there were 3 meetings at times for discipline issues. Why were
there 3 meetings. That seems, from an outsider, very onerous and punishing. Can you help me understand that?

Thanks. You testified for a good chunk of time (due to the questions of Allina’s attorney) about some improvement
plan which had 3 versions you were aware of. Please clarify that for me. You explained one had a redacted or blacked

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out type at the bottom of the page. Again, can you please help clarify that. 1 am waiting for Allina to give me their
documents. You mentione egg) who did an improper investigation. Was that the butter incident.

The butter incident went on for countless minutes. The way | understand it from your testimo
reported the incident even those the butter comment was NOT directed at her. It was involving

There was a mention Cians somehow. My notes don’t really capture that. Maybe you can confirm what
ee: You did mention that one witness could NOT have seen what happened as she was behind a pillar type
thifig/construction of how the unit was.

You mentioned i

*Throughout your deposition you never heard actual racial slurs. . It got subjective quickly as there was some mis-
understanding between hair and food comments and the Ngga and er words. You did testify that you never heard a

supervisor o ay a racial slur (what ever that.is subjectively). You testified that complaints of discrimination
went to corporate compliance to die.

You mentioned i aay | as the DEI director but nothing really changed.

There was a lot of talk about gama suit and his complaint. | will get to that shortly.

You mentioned a pink badge, but said you only knew of one nurse or aide to wear it (sign of surviving discrimination at
one unit).

The attorney asked for the names of your witnesses for pain and suffering. You gave your children, your husband and

your dad. That’s good. You told the attorney about your couple of visits to nd to =
i. | loved how you told Allina that you get spiritual healing and treatme dica! as you no longer
tru stablishment.

| loved how you said you were like free falling without a parachute and how the experience totally negatively affected
your self-esteem, ability to be a great nurse, et ou described no sleep, change in

personality, depression, anxiety, etc. That Allina ta0k aw ence. Again, GD you seek
spiritual care and not psychiatric care. Good for your

You did a good job explaining “burnout”. You did a good job explaining why you have not looked for work or gone back
to work since Allina. You explained that Allina black-balled people. My guess is, they would not give any references and
impliedly said things to make you look like a bad candidate (allegedly, not fact). You also explained how the
accommodations did not work for you, and how white nurses got the shift changes they wanted.

You mentioned a Oa: for integrity line calls. You testified how you felt you and black nurses were
set up all the time and that the white staff kept tabs, notes and tallies to be used against you and nurses of color and in
the end, they all were about subjective notions of rudeness and disrespect. Cultures communicate differently and you

did a good job testifying that Allina never did inclusivity training, etc. to understand differences in communication styles.

| loved how you testified how nurses of color did not want to be Seen. That was powerful.
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Now, the concerns, as your attorney. Again, eee

on

After your deposition, you signed forms to allow Allina’s attorneys to get your records from
This is fine and totally in-bounds. We also discussed the fact that Allina wants us to present a settlement

number before August 27, 2024. They ARE interested in settlement but the number has to be within what Allina (their
attorneys) feel is fair.

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You mentioned a a. fired for integrity line calls. You testified how you felt you and black nurses
were set up all the ffme t the white staff kept tabs, notes and tallies to be used against you and nurses of color
and in the end, they all were about subjective notions of rudeness and disrespect. Cultures communicate differently

and you did a good job testifying that Allina never did inclusivity training, etc. to understand differences in
communication styles.

| loved how you testified how nurses of color did not want to be Seen. That was powerful.

Now, the concerns, as your attorney. aa

of

te ated

he drafting of the complaint goes back a long time azo and was

ots of the evidence and paperwork | had at the time, and what

re: were saying in general about racism and problems with Abbott. When | wrote you heard racial slurs (you
testified you heard nigga), you said you never did and that the mention in the complaint was not true.

based upon all of the information | had at the time, |

_ [know the attorney asked why you put numbers in initial “disclcosures”
suffegi u did fine and these i i ions

As we discussed, your case is still

ve and moving through the system. The race discrimination charges

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After your deposition, you signed forms to allow Allina’s attorneys to get your records from
—_ is fine and totally in-bounds. We also discussed the fact that Allina wants us to pr .

er before August 27, 2024. They ARE interested in settlement but the number has to be within wha
attorneys) feel is fair. Settlements by their nature, like nursing contracts, end up being big compromises for each

3 i DAP) ars bg b= 5

All attorneys can do is look at the countless cases that have gone before you and
country but Mnnesota/federal court most specifically) and look at risk
dismiss the entire case on summary judgment. ;

see what jurors awarded ( across the
ing nothing or getting a judge to

———

Thus, when arriving at a starting number, it h as to be objectively fair in relation to other cases and the risk of getting
nothing by a judge tossing the case out — Si :
discrimination against you specifica

My suggestion is that

courts clearly
say a few incidents of racial slurs and bad behavior is not pervasive racism changing the terms and conditions of
employment.

The decision is ultimately yours and | will always respect that. It’s tough as you fight so hard. My final thoughts as |
tell all of my clients. There are 2 main regrets with lawsuits. 1. You settle and kick yourself for not going all the way to
a trial — if you can get that far. 2. You go to trial and lose and regret not settling and winning. Getting Abbott/Allina

to 0) a will definitely help_nurses of color as Abbott dioes not want to be continually sued. IT will
lead to true raining. - a

RR 2". most is from my nétes and memory.. The

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Richard W. Hechter

From: Richard W. Hechter

Sent: Monday, August 26, 2024 3:08 PM
To: Edify My temple

Cc: Griffin Bryant

Subject: Update, Rich

Attachments: Verdicts.pdf

Hi DaJavon,

la

ttaching some verdicts after trials.

Every case is different and your case is different. BUT, you have to look at the landscape and court rulings. Again, see
what | attached.

You told me you had a couple firms look into your case GE eMels isa
your case.

a side note, you now say do not call

Rich

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Richard W. Hechter

From: Richard W. Hechter

Sent: Tuesday, September 24, 2024 9:09 AM

To: Edify My temple Le
Ce: Griffin Bryant

Subject: So sorry.

Attachments: 2024.09.19 Case Withdrawl Letter.docx

Hi Dajavon,

Thank you for speaking with me. 1am so sorry to give you the news. My office will NOT let me continue On:

*** You need to do your best to find another attorney immediately. | will send you a list of attorneys to check with. You
have some time.

Please see attached.

Richard W. Hechter

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or any attachment for any purpose, nor disclose all or any part of the contents to any other person. Thank you.
CASE 0:23-cv-02789-JWB-JFD Doc.100 Filed 10/16/24 Page 12o0f18

Richard W. Hechter

From: Edify My temple <dajovan@gmail.com>
Sent: Thursday, October 3, 2024 1:41 PM

To: Richard W. Hechter

Ce: Griffin Bryant

Subject: Re: FW: Your case

Attachments: imageQ01 jpg

Categories: Filed to Clio YW
There's no need to call me, . | will proceed as Pro Se. Have Lehuan send everything
to me. You are not allowed

On Thu, Oct 3, 2024, 1:07 PM Richard W. Hechter <rhechter@morrislawmn.com> wrote:

Dear DaJavon,

| have not fond any attorney willing to take on your case. Have you? Below is the email | received from the defense
attorney. | was prolonging the time to actually withdraw in hopes you could find another attorney.

We are coming up to a CRITICAL

DLINE. Defense counsel for Allina will seek money judgment against o>

| would like your permission*té 2 ol tale tL,

Please give me permission ga,

Sincerely,
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Richard W. Hechter

From: Richard W. Hechter

Sent: Friday, October 4, 2024 2:59 PM i

To: Edify My temple

Ce: Griffin Bryant

Subject: Final email

Attachments: 2024.10.04 Motion.pdf; 2024.10.04 Order to withdraw (003).pdf

Dear Dajavon,

lam so sorry we had to withdraw. | am attaching the documents we sent to the court and Allina’s attorney.
| wish you so much luck and, most importantly, peace.

Sincerely,
Rich Hechter

Richard W. Hechter

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or any attachment for any purpose, nor disclose all or any part of the contents to any other person. Thank you.

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Richard W. Hechter

From: Richard W. Hechter

Sent: Monday, October 7, 2024 3:11 PM

To: Edify My temple

Subject: FW: Pettit v. Allina | Service of Rule 11 Safe Harbor

Attachments: Allina - Pettit - Letter to OC (Service of Rule 11 Motion Papers) 4882-4052-1703 2.pdf;

Allina-Pettit - Motion for Rule 11 Sanctions 4884-4814-1799 2.pdf; Allina-Pettit - NOH
Rule 11 Sanctions 4863-7556-4519 2.pdf; Allina-Pettit - MOL ISO Rule 11 Sanctions
4874-4542-1027 5.pdf; ALLINA-Pettit - Word Count Certificate w MTN for Sanctions
4870-6835-0951 2.pdf; Fourth Pham Decl ISO Rule 11 Motion 4877-2764-0294 2.pdf;
Allina-Pettit - Proposed Order Rule 11 Sanctions 4874-8528-6119 2.pdf; Allina-Pettit -
COS for Rule 11 Motion Papers 4883-0330-5447 2.pdf

Dear DaJavon,

The defense attorney is adamant for bringing big fines and sanctions against you.

w. ! am happy to do telephone conferences with any other attorney considering

. Pro-se Ts a tough route in federal court. Please review the attached. | just spoke with Hahns, the attorney
nd he wants fees and costs from you.

a am asking the court to withdraw as your attorney because ? Please let me
k ater than Friday i ‘

Sincerely,

Rich Hechter

Richard W. Hechter

Board Certified Civil Trial Specialist, MSBA

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or any attachment for any purpose, nor disclose all or any part of the contents to any other person. Thank you.
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Richard W. Hechter

From: Richard W. Hechter
Sent: Monday, October 7, 2024 3:34 PM
To: Edify My temple

Subject: FW: Pettit case

Hello,

Here is the email from now from Hahn Pham. | have to keep you in the loop.
Best,

Rich

Richard W. Hechter

Board Certified Civil Trial Specialist, MSBA
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or any attachment for any purpose, nor disclose all or any part of the contents to any other person. Thank you.

From: Pham, Lehoan T. <HPham@littler.com>
Sent: Monday, October 7, 2024 3:28 PM
To: Richard W. Hechter <rhechter@morrislawmn.com>

Cc: Robbins, Holly <HRobbins@littler.com>; Huisman, Stephanie <SHuisman@littler.com>
+ RE: Pettit case

Hello Rich:

Thanks for your call today. | write to summarize what we talked about. Where | have stated something incorrect, please
let me know.

a will withdraw its Motion Seeking Leave to Directly Serve Ms. Pettit. We will file the required notice with the Court.
Allina will represent that you do not object to the withdrawal of the motion.
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Richard W. Hechter

From: Richard W. Hechter t-

Sent: Tuesday, October 8, 2024 11:25 AM

To: Edify My temple

Subject: FW: Pettit v. Allina 23-2789; MANDATORY COURT HEARING IN PERSON, NOVEMBER

5, 2024 AT 11:00 A.M.

Dear DaJovan,
Here, below is the email from the court.

There is a MANDATORY court hearing for everyone (including you) to attend on your case. It is on November 5, 2024 at
11:00 a.m. in person at the down town St. Paul Courthouse.

The hearing will be a combination of things including how you wish to proceed after my withdrawal, and a discussion of
how Allina wants to move forward with it’s sanctions and attorneys fees.

| am sorry, again, | can’t go further. | would strongly suggest continuing to try to find a new attorney by November 5".

Thanks.
Rich

Richard W. Hechter

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2000 and permanently delete this e-mail and any attachments immediately. You should not retain, copy or use this e-mail
or any attachment for any purpose, nor disclose all or any part of the contents to any other person. Thank you.

From: MND Docherty Chambers <docherty_chambers@mnd.uscourts.gov>

Sent: Monday, October 7, 2024 4:23 PM

To: Pham, Lehoan T. <HPham@littler.com>; Richard W. Hechter <rhechter@morrislawmn.com>
Cc; Griffin Bryant <Griffin.Bryant13 @outlook.com>

Subject: RE: Pettit v. Allina 23-2789:
CASE 0:23-cv-02789-JWB-JFD Doc.100 Filed 10/16/24 Page17of18

MORRIS LAW GROUP, P.A.

RICHARD L. MORRIS TELEPHONE: (952) 832-2000
RICHARD W. HECHTER * ATTORNEYS AT LAW FACSIMILE: (952) 832-0020
AMY MATTSON A PROFESSIONAL ASSOCIATION WWW.MORRISLAWMN.COM
JASON EMERY

DAN YATES

PATRICK ZITEK 7380 FRANCE AVENUE S., SUITE 250 * MSBA Certified Civil Trial Specialist
ANDREW RATELLE EDINA, MN 55435

October 16, 2024
Ms. DaJavon Pettit

2219 Dupont Avenue North
Minneapolis, MN 55411

RE: Notice of Withdrawal. Please read carefully. Extremely Important
Dear DaJavon:
I hope, as always, all is going well with you and your beautiful family.
I need to inform you that the Defense attorneys are now threatening to bring more sanctions and

fees against you and my law firm; and will move again to dismiss your case.
Their bases are essentially

The court is giving you about 60 days to find a new attorney.

hua

(mo you MUST do your best to find a new attorney to substitute in. Otherwise, you'll have to_
go it on your own (which is extremely hard in Federal Cou ;
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u will also have to start looking on

I am so sorry to give you this news, There is NO charge to you for the hours and hard costs we
put into your case

Court/8th Circuit pe

I am very sorry for letting you down. I will call you before I send this letter. e— ne

Best,

Richard W. Hechter

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